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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                          ALEXANDRIA DIVISION

JERRY MCKINNEY, SR.                              CASE NO. 1:19-CV-01339

VERSUS                                           JUDGE DAVID C. JOSEPH

RAPIDES PARISH SHERIFF’S OFFICE,                 MAGISTRATE JUDGE JOSEPH H.L.
ET AL                                            PEREZ-MONTES

                                       ORDER

       Considering the CONSENT MOTION       TO   SUBSTITUTE PARTY [DOC. 56], filed by

 Pamela McKinney, legal successor to Plaintiff Jerry McKinney, Sr.,

       IT IS HEREBY ORDERED that the motion is GRANTED. Pamela McKinney

 is hereby substituted as Plaintiff in the above-captioned matter.

       THUS, DONE AND SIGNED in Chambers on this 2nd day of February, 2021.




                                            DAVID C. JOSEPH
                                            UNITED STATES DISTRICT JUDGE
